Case 4:12-cr-00032-MFU       Document 195 Filed 06/24/16         Page 1 of 2      Pageid#:
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                     IN TH E UN ITED STA TE S D ISTR ICT C O U RT               D         r
                    FOR THE W ESTERN DISTRICT OF VIRGINIA
                                DA NV ILLE DIV ISIO N



IJNITED STATES OF AM ERICA                      C ase N o.4:12-cr-0032-1

V.                                              M EM O R AND U M O PIN IO N

TYRELL KEONISAUNDERS,                           By:    H on.Jacltson L.K iser
     Petitioner.                                       SeniorUnited StatesDistrictJuàge
       TyrellKeoniSatmders,afederalinm ateproceedingproK ,filed amotion to vacate,set

asideorcorrectsentencepursuantto28U.S.C.j2255inllghtofJolmsonv.UnitedStates,
U.S. ,135S.Ct.2551(2015).Courtrecordsindicatethatthecourtalreadydismissed (Dkt.
No.173)apriorj2255motion(Dkt.No.146).Thus,thej2255motionisasecondor
subsequentmotiontmder28U.S.C.j22551).See.e.g.,UnitedStatesv.Hairston,754F.3d
258,262(4thCir.2014).
      Thecourtmayconsiderasecondorsuccessivej2255motiononlyuponspecific
certitk ation from theUnited StatesCourtofAppealsforthe Fourth Circuitthataclaim in the

motionmeetscertaincriteria.See28U.S.C.j2255(19.AsPetitionerhasnotsubmittedany
evidenceofhaving obtained certifcation 9om the CourtofAppealsto filea second or

successivej2255motion,thecourtdismissestheâ2255motionwithoutprejudicems
successive. Based upon thecourt'sfindingthatPetitionerhasnotm adetherequisite substantial
Case 4:12-cr-00032-MFU           Document 195 Filed 06/24/16               Page 2 of 2         Pageid#:
                                            832



showingofdenialofaconstimtionalrightasrequiredby28U.S.C.j22534c),acertificateof
appealability isdenied. 1 Petitioner'smotion toappointcotmselisgranted pursuantto Standing

Order2015-5.

       ENTER:This; - dayoflune,20*
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                                                        enio United StatesDistrictJudge




       1Petitionerishereby advisedoftheprocedtlreforobtainingcertificationtohavethiscourtreview a
successivej2255motion.Petitionermustsubmitacogyofthesuccessive52255motiontotheCourtofApgeals,
alongwithamotionrequestingathree-judge-panelcertlfcationthatthedistrictcotu'tmayreview thesuccesslve
j2255motion.See28U.S.C.j2244418.A FourthCircuitform andinstructionsforSlingthismotionareavailable
9om theFourth Circuitatthefollowhzg address:OfticeoftheClerk,United StatesCourtofAppealsfortheFourth
Circuit,1100E.M ain St.,Suite501,Richmond,V A 23219.
